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   Attorney at Law
 2 428 J St., Suite 350
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 3 (916) 443-7141

 4 Attorney for Defendant
   Jose Gonzalez Arias
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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             CASE NO. 08-cr-00562 WBS
12                                 Plaintiff,              STIPULATION AND [PROPOSED]
                                                           ORDER CONTINUING STATUS OF
13   v.                                                    SENTENCING HEARING
14   JOSE GONZALEZ ARIAS,
                                   Defendant,
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16
                                                STIPULATION
17
            Defendant Jose Gonzalez Arias through his counsel of record, and Plaintiff United States of
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19 America, by and through its counsel of record, hereby stipulate as follows:
20          The court should vacate the status of sentencing hearing now set on February 23, 2015. A

21 status of sentencing hearing shall be scheduled for April 13, 2015 at 9:30 a.m., said matter to be

22
     added to the court’s calendar for that date.
23

24 DATED:           February 18, 2015

25
                                            /s/ Jill Thomas___________________
26                                          Assistant United States Attorney

27 DATED:           February 18, 2015

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                                /s/ Timothy E. Warriner
 1                              Counsel for Defendant
                                Jose Gonzalez Arias
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 4                                     ORDER
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     IT IS SO FOUND AND ORDERED.
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 7   Dated: February 18, 2015
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